                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SIERRA CLUB, et al.,                            *
                                                *
              Plaintiffs,                       *
                                                *
       v.                                       *
                                                *
NATIONAL MARINE FISHERIES                       *
SERVICE, et al.,                                *
                                                *      No. 8:20-cv-03060-DLB
              Defendants,                       *
                                                *
       and                                      *
                                                *
AMERICAN PETROLEUM INSTITUTE,                   *
et al.,                                         *
                                                *
              Intervenor-Defendants.            *

                              JOINT PROPOSED SCHEDULE

       Plaintiffs Sierra Club, Center for Biological Diversity, Friends of the Earth, and Turtle

Island Restoration Network (collectively, “Plaintiffs”); Defendants National Marine Fisheries

Service (“NMFS”) and Janet Coit in her official capacity as the Assistant Administrator for

National Oceanic and Atmospheric Administration Fisheries (collectively, “Defendants”); and

Intervenor-Defendants American Petroleum Institute, EnerGeo Alliance, National Ocean

Industries Association, and Chevron U.S.A., Inc. (collectively, “Intervenors”) have conferred and

respectfully submit the following proposed schedule by which this matter may proceed:

       1.     This case involves Plaintiffs’ challenge to NMFS’s biological opinion on the effects

of federally regulated oil and gas program activities in the Gulf of Mexico on threatened and

endangered species under the Endangered Species Act (“ESA”). See ESA Section 7 Biological

Opinion on the Federally Regulated Oil and Gas Program Activities in the Gulf of Mexico, FPR-

2017-9234 (Mar. 13, 2020), https://www.fisheries.noaa.gov/resource/document/biological-

                                               1
opinion-federally-regulated-oil-and-gas-program-activities-gulf-mexico. The parties agree that

this case will involve the review of an administrative record compiled and lodged by NMFS and

cross-motions for summary judgment based on that administrative record. See Docket (“Dkt.”) 64

at 1. On July 2, 2021, NMFS lodged its administrative record with the Court. See Dkt. 67. On

August 24, 2021, in response to Plaintiffs’ supplemental complaint, NMFS lodged a supplement

to the administrative record. See Dkt. 74; see also Dkt. 65-3. Since then, Plaintiffs and Defendants

have reached a resolution with respect to the completeness of NMFS’s administrative record, and

Plaintiffs will not file a motion challenging the administrative record. See Dkt. 86. The parties

instead propose the following schedule for completion of the administrative record:

              Defendants shall lodge a second supplement to NMFS’s administrative record with

               the Court (on USB flash drive) and serve the second supplement on the parties no

               later than April 1, 2022.

       2.      The parties also agree that this case will be resolved by cross-motions for summary

judgment. If no motions regarding the scope or contents of the administrative record are filed, the

parties propose the following schedule for summary judgment briefing:

              Plaintiffs’ opening brief in support of their motion for summary judgment shall be

               filed no later than May 20, 2022. The opening brief filed by Plaintiffs shall not

               exceed 45 pages.

              Defendants’ brief in opposition to Plaintiffs’ motion for summary judgment and in

               support of Defendants’ cross-motion for summary judgment shall be filed no later

               than July 22, 2022. The opposition / opening brief filed by Defendants shall not

               exceed 50 pages.

              Intervenors’ briefs in opposition to Plaintiffs’ motion for summary judgment and


                                                 2
              in support of Intervenors’ cross-motions for summary judgment shall be filed no

              later than August 1, 2022. Each opposition / opening brief filed by Intervenors

              shall, to the extent practicable, avoid duplication of Defendants’ brief and shall not

              exceed 20 pages.

             Plaintiffs’ reply brief in support of their motion for summary judgment and in

              opposition to Defendants’ and Intervenors’ respective cross-motions for summary

              judgment shall be filed no later than August 31, 2022. The reply / opposition brief

              filed by Plaintiffs shall not exceed 55 pages.

             Defendants’ reply brief in support of their cross-motion for summary judgment

              shall be filed no later than September 30, 2022. The reply brief filed by Defendants

              shall not exceed 30 pages.

             Intervenors’ reply briefs in support of their respective cross-motions for summary

              judgment shall be filed no later than October 10, 2022. Each reply brief filed by

              Intervenors shall, to the extent practicable, avoid duplication of Defendants’ brief

              and shall not exceed 10 pages.

       Accordingly, the parties respectfully request that the Court enter an order reflecting the

proposed schedule above. A proposed order is attached.

Dated: March 25, 2022                           Respectfully submitted,

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5
                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 25, 2022, I electronically filed the foregoing Joint Proposed

Schedule and [Proposed] Order with the Clerk of the Court using the CM/ECF system, which will

send notification of this filing to the attorneys of record.

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